               Case 2:12-cr-00080-TLN Document 222 Filed 09/02/16 Page 1 of 1

 1

 2
                                    IN THE UNITED STATES DISTRICT COURT
 3
                                       EASTERN DISTRICT OF CALIFORNIA
 4

 5   UNITED STATES OF AMERICA,                               CASE NO. 2:12-CR-0080 TLN

 6                                   Plaintiff,              ORDER SEALING DOCUMENTS AS SET FORTH
                                                             IN GOVERNMENT’S NOTICE
 7                            v.

 8   MARCUS LAW,

 9                                  Defendant.

10

11
             Pursuant to Local Rule 141(b) and based upon the representation contained in the Government’s
12
     Request to Seal, IT IS HEREBY ORDERED that the document filed in connection with defendant
13
     Marcus Law’s Judgement and Sentencing and Government’s Request to Seal shall be SEALED until
14
     further order of this Court.
15
             It is further ordered that access to the sealed documents shall be limited to the government and
16
     counsel for the defendant.
17
             The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court for
18
     the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in the
19
     Government’s request, sealing the Government’s motion and memorandum serves a compelling interest. The
20
     Court further finds that, in the absence of closure, the compelling interests identified by the Government
21
     would be harmed. In light of the public filing of its request to seal, the Court further finds that there are no
22
     additional alternatives to sealing these documents that would adequately protect the compelling interests
23
     identified by the Government.
24

25
     Dated: August 29, 2016
26
                                                                      Troy L. Nunley
27                                                                    United States District Judge

28


       ORDER SEALING DOCUMENTS AS SET FORTH IN               1
       GOVERNMENT’S NOTICE
